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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

ERIC MACALPINE; ANDREW GREMMO; and
BRIAN HICKERSON, individually and on behalf
of all others similarly situated,

Plaintiffs,
Vv. Civil Action No. 1:24-cv-933-DII

ONNIT LABS, INC.,

Defendant.

SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order is

issued by the Court:

l. A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed

on or before March 18, 2026.

2. The parties asserting claims for relief shall submit a written offer of settlement to opposing

parties on or before February 18, 2026, and each opposing party shall respond, in writing,

on or before March 4, 2026. All offers of settlement are to be private, not filed. The

parties are ordered to retain the written offers of settlement and responses so the Court may

use them in assessing attorney’s fees and costs at the conclusion of the trial.
3. Each party shall complete and file the attached “Notice Concerning Reference to United
States Magistrate Judge” on or before May 30, 2025.
The parties shall file all motions to amend or supplement pleadings or to join additional

parties on or before August 13, 2025.

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All parties asserting claims for relief shall file their designation of testifying experts and serve
on all parties, but not file, the materials required by Federal Rule of Civil Procedure

26(a)(2)(B) on or before October 6, 2025, Parties resisting claims for relief shall file their
designation of testifying experts and serve on all parties, but not file, the materials required

by Federal Rule of Civil Procedure 26(a)(2)(B) on or before November 6, 2025. All parties

shall file all designations of rebuttal experts and serve on all parties the material required
by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the extent not
already served, 15 days from the receipt of the report of the opposing expert.

An objection to the reliability of an expert’s proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony, within 11 days from the receipt of the written report
of the expert’s proposed testimony, or within 11 days from the completion of the expert’s

deposition, if a deposition is taken, whichever is later.

The parties shall complete all discovery on or before November 17, 2025.

All dispositive motions shall be filed on or before February 10, 2026 and shall be limited
to 20 pages. Responses shall be filed and served on all other parties not later than 14 days
after the service of the motion and shall be limited to 20 pages. Any replies shall be filed
and served on all other parties not later than 7 days after the service of the response and
shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the
motion.

The Court will set this case for final pretrial conference at a later time. The final pretrial

conference shall be attended by at least one of the attorneys who will conduct the trial for
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each of the parties and by any unrepresented parties. The parties should consult Local Rule
CV-16(e) regarding matters to be filed in advance of the final pretrial conference. The
parties shall not complete the following paragraph. It will be completed by the Court

at the initial pretrial conference to be scheduled by the Court.

10 This case is set for jury trial commencing at 9:30 a.m. on \G wece seal] men
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July 20, 2026 26.0) selection may be conducted by a a States Magistrate = GcP4~ +
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any cases resolve

Judge the Friday before the case is set for trial. Given that (1
before trial and (2) the Austin Divisi active district court judge, the

Court may set a criminal case and iyil cases for the same trial week. The

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ee before the trial date, but the Court must balance that inconvenience
with its need to effectively deploy limited judicial resources.

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Onvenience this may causecounsel and parties if a trial is

The parties may modify the deadlines in this Order by agreement, with the exception of the
dispositive motions deadline and the trial date. Those dates are firm. The Court may impose
sanctions under Federal Rule of Civil Procedure 16(f) if the parties do not make timely submissions
under this Order. For cases brought pursuant to the Freedom of Information Act (FOIA), the
parties may instead follow the standard disclosure process and will have an initial pretrial conference

only by request.

SIGNED on Feb. & CS.
Of

- ROBERTPHMAN [Davia A. Gare
Sc. UNITED STATES DISTRICT JUDGE
